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 4
 5                            IN THE UNITED STATES DISTRICT COURT
 6                               FOR THE DISTRICT OF ARIZONA
 7
 8   United States of America,                 )
                                               )   CR02-00522-001-PCT-RCB
 9               Plaintiff,                    )
                                               )   ORDER
10   vs.                                       )
                                               )
11                                             )
                                               )
12   Jason Maloney,                            )
                                               )
13               Defendant.                    )
                                               )
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            The defendant appeared in court with counsel. The defendant's probable cause hearing
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     was waived and his detention hearing was held by defendant through defense counsel. The
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     Court finds probable cause to believe the defendant violated the terms of his supervised
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     release as alleged in the petition.
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            IT IS ORDERED that the defendant is detained as flight risk and danger, pending
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     further revocation proceedings. Pursuant to Rule 32.1(a)(6) defendant has failed to show he
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     is not a flight risk or a danger.
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                    DATED this 28th day of August, 2008.
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